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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

UNITED STATES OF AMERICA,                   :

                     Plaintiff,             :
                                                          CASE NO: 2:20-cr-157 (2)
       v.                                   :
                                                          CHIEF JUDGE MARBLEY
NICOLE H. GEORGES,                          :

                     Defendant.             :


                      DEFENDANT’S PROPOSED EXHIBIT LIST

       Now comes Defendant, Nicole Georges, by and through counsel, who hereby submit

the following list of exhibits as intended to be introduced at trial presently set for June 21,

2021. Defense Counsel hereby reserves the right to supplement the exhibit list, as not all

discovery, particularly in the form of Jencks material, has yet to be provided to Defense

Counsel. Defense Counsel will send a courtesy copy of this list with the attached intended

exhibits to the Assistant United States Attorney, Christopher Jason, Esquire, via email in

preparation for the Final Pre-Trial hearing presently set for June 16, 2021.


                                     EXHIBIT LIST
   1. Insys Therapeutics, Inc Employment Offer Statement
   2. Insys Therapeutics Speaker Agreement
   3. Email from Alec Burlakoff on September 17, 2012, to Michael Babich and others
   4. Email from Alec Burlakoff on September 17, 2012, to Michael Babich and others
   5. TIRF REMS patient-prescriber agreement form
   6. Open Payments Data from Dr. Kenneth Ecker
   7. Speaker Program Bureau checklist
   8. Evaluation Form
   9. Insys Speaker Program Pre-Program checklist
   10. (14) Speaker Program Attendee Sign in Forms, 9/11/15,
   11. Plan 365, Project & Program Code for Speaker Program, 9/11/15
   12. Carrabba’s Receipt
   13. Transaction Details for Carrabbas
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14. Email demonstrating receipts from Plan 365
15. Spreadsheet documenting food and beverage
16. Photo Array
17. Text messages from Tracey Couch
18. Picture from Cavs Game
19. Douglas Shrewsbury Guilty Plea to Aggravated Trafficking in Drugs, Aggravated
    Possession of Drugs, and Medicaid Fraud
20. Douglas Shrewsbury’s Sentencing Memorandum
21. Douglas Shrewbury’s Sentencing Entry
22. Douglas Shrewsbury’s Motion for Judicial Release
23. Tracey Couch Guilty Plea

                                            Respectfully submitted,


                                            /s/ Mark C. Collins
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                                            Attorneys for Defendant Nicole H. Georges
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                             CERTIFICATE OF SERVICE

      I hereby certify that on June 7, 2021 I electronically filed the Defendant’s Proposed

Exhibit List, using the CM/ECF System, which will send notification of such filing to the

following: Christopher Jason, Esq.


                                                /s/ Mark C. Collins
                                                MARK C. COLLINS (0061207)


                                                /s/ Kaitlyn C. Stephens
                                                KAITLYN C. STEPHENS (0095589)
